                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

 In re:                         )
                                )     Case No: 3:19-bk-1971
 CAPSTONE PEDIATRICS, PLLC,     )     Chapter 11
                                )     Judge Randal S. Mashburn
      Debtor.                   )
 AGREED ORDER AND STIPULATION EXTENDING THE TIME FOR THE DEBTOR TO
                ASSUME OR REJECT AN UNEXPIRED LEASE
                          (CLARKSVILLE LEASE)

           As evidenced by the signatures of counsel for the parties below, Capstone Pediatrics, LLC

 (“Debtor”) and ARHC GMCLKTN01, LLC (“Landlord”) hereby agree and stipulate that the

 Debtor shall be entitled to an additional 90 days from July 26, 2019, and until October 24, 2019,

 in which the Debtor may determine whether or not it will assume or reject the lease with the

 Landlord.

           In support hereof, the parties stipulate, effective as of July 26, 2019, and have requested

 that the Court enter its order as follows:

           A.     On March 28, 2019, the Debtor filed its Voluntary Petition for Relief under Chapter

 11 of the Bankruptcy Code (the “Petition Date”).

           B.     The Debtor and Landlord are parties to a Lease (the “Clarksville Lease”) of non-

 residential real property and improvements, located at 647 Dunlop Lane, Clarksville, TN

 (“Premises”).

           C.     The Debtor has not filed a motion to assume or reject the Clarksville Lease in this

 case.



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           D.     The initial deadline under 11 U.S.C. § 365(d)(4)(A)(i) for the Debtor’s assumption

 or rejection of the Clarksville Lease would expire on July 26, 2019.

           E.     The Debtor and the Landlord are in agreement that the Debtor should be allowed

 an additional 90 days from July 26, 2019, in order to make its determination of whether to assume

 or reject the Clarksville Lease.

           F.     In accordance with 11 U.S.C. § 365(d)(3), the Debtor shall continue to timely

 perform all of its obligations under the Clarksville Lease until the Clarksville Lease is assumed or

 rejected.

           G.     The Premises are utilized for one of the Debtor’s pediatric clinics and is vital to the

 Debtor’s current operations.

           AND it appearing to the Court that good and sufficient cause exists for the relief set forth

 herein and that, based on the parties’ agreement as evidenced by the signatures below, no notice

 and hearing is required for the entry of this Order,

           It is hereby ORDERED that:

           1.     Pursuant to 11 U.S.C. § 365(d)(4)(B)(i), the Debtor shall have until and including

 October 24, 2019, in which to file and serve a motion to assume or reject the Clarksville Lease;

 and

           2.     Any further extensions of the assumption-or-rejection deadline will only be granted

 with the Landlord’s prior written consent and in compliance with 11 U.S.C. § 365(d)(4).



           This Order was signed and entered electronically as indicated at the top of the first page.




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